Case 2:19-cv-13588-NGE-DRG ECF No. 15, PagelD.45 Filed 05/12/20 Page 1 of 15

UNITED STATES DISTRICT COURT ©
EASTERN DISTRICT OF MICHIGAN

Cryer y Gee 3 Plaintiff, Case No. \ a - | 3 2 SX
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VS.

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Judicial Officer: Gy LE

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Chit ewe MTN |

Defendant(s).

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POOR QUALITY ORIGINAL
Case 2:19-cv-13588-NGE-DRG ECF No. 15, PagelD.46 Filed 05/12/20 Page 2 of 15

qu ory
J Sawyer Be
Signature of Filer

Coery So WY Biss

Printed Name

Date: YA y ih ava LS9Go Losgreeosk

Street Address

Die} ao) T Revi tke | 4

City, State, Zip Code

C313) Gott CBS

Telephone Number
Case 2:19-cv-13588-NGE-DRG ECF No. 15, PagelD.47 Filed 05/12/20 Page 3 of 15

May 11,2020
Case #; 2:19-CO-13588
Plaintiff
Grayson-Bey
Vs
Southfield Police Department
Officer Fox
Officer Moore

Officer Michael

| am filing a motion on the matter in which the address on the disclosure package
letter that was sent to me, reads Grayson-Bey C/O Javaar Tyrone Grayson, this is

what this case is all about, the total disrespect and violation of my birthright. this
case number is 2:19-CO-13588 Grayson-Bey Vs Officer Fox, Officer Moore Officer
Michael and The Southfield Police Department.

| would like to thank the honorable Judge Nancy C Edmunds and Magistrate
Judge David R Grand and the federal clerk office for showing me, Grayson-Bey the

respect by calling me Grayson-Bey.

Enclosed in this motion is an example of the disrespect that was sent to me.

As for David D Burgesses’ Seward Henderson PLLC 210 East 3 street suite 212,
Royal Oak MI 48067 and any other defense attorney representing Officer Fox
,Officer Moore, Officer Michael and The Southfield Police Department a legal
notice : my Declaration Of Nationality will be sent to the defense attorney David D
Burress ESQ.

A copy will be submitted to the Federal Clerks Office
:19-cv-13588-NGE-DRG ECF No. 15, PagelD.48 Filed 05/12/20 Page 4 of 15

Exhibit 1

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David D. Burress, Esq.

Seward Henderson PLLC

210 East 3rd Street

Suite 212
Royal Oak MI 48067 C020

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SP Grrayson-Bey

| __ eo Javaar Tyrone Grayson
| 18992 Westbrook St

Detroit MI 48219-2449

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-L9-CV-13588-NGE-DRG ECF No. 15, PagelD.50 Filed 05/12/20 Page 6 of 15

Exhibit 2

CR No: 190040970

FAO

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IBR Cede /IBR Group

902 - All Other Offenses / B

um Soa chr

Offense File Class

48000 - OBSTRUCTING POLICE

Offenses:

Crime Against

Uscation Type

13- Highway/Road/Alley/Sidewalk

Offense Completed

Completed

No

Comestic Violence

Hate:Bias

00 - None (No Bias)

Using

A-Alcohal: No _C-Computer Equipment: No_D-Drugs/Narcoties: No

Cargo Thett
G

People:

GRAYSON, JAVAAR TYRONE (A-ARRESTEE

) [SOFOXS (12297)]

Last Name

GRAYSON

| First Name

JAVAAR

NMicdle Name

TYRONE

Suffix

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1170711973 (45) |

Race

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AMERICAN |

BLACK/AFR | Unknown

Birth

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Ethnicity

City & State {Binh Country

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| Home Phone

13134046873

GRY

17690 ANNCHESTER RD |
DETROIT

48219

| Cell Prone Email

(UNKNOWN

Alerts

) Cn Pronation:Parnie
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[No

[Habsual Offender Status

Arrest Information

Offenses Details

Arrest Date/Time; 10/10/2018 16:25

4899 - Obstruct Polies (Other) Location: Hessell&Evengreen
Arese: 2019-1758
Arest Type: Onview
OW! Arres¥BAC:
Offense Tyee: Misd.
Count:
Arasting Officer 1: SCFOXS (FOX, SWADE 12297)
Arresting Cfficer 2 SCMCGRED (MOCRE.DAVID 11997)

MultiCiearance

N - Not Applicable

MuitiClearance Offense

Armed Sith

01 - Unarmed

Omte/Time Booked

10/10/2019 00:00

iSeckes Location

$

[SQUTHFIELD POLICE DEPT

|FATEEN, ASSIYAH (O-OTHER) (X-MISCELLANEOQUS)

[SOFOXS (12297)]

PE. WT ype: |Last Name First Name | Micdle Name Suffix MaMrscMs
FATEEN ASSIYAH
Aliases Oriver Licenses OL Stare ok Our i Posscrai Cs
F350072019691 Mi | |
OCE Age) Sex ace Eshrucity [Sinn City & Sine Sink Country Country of Ctizensrip
09/05/1984 (35) F BLACK/AFR |
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Declaration of Nationality

Legal Notice

Declaration of nationality, name correction proclamation and publication
Judicial notice and proclamation

To all elected United States republic office and public servant of federal, state,
city, and municipal governments, personnel and corporate entities, concerning
the constitution and all statutory and civil law codes of the land, etc., know all
men by these present:

|, Grayson-Bey being duly affirmed, standing squarely, declare and proclaim,
upon divine law: natures law , universal law, Moorish birthrights international
law, and constitution law, declare and say:

| being previously identified by the union states society of North America-USA
under the colorable, ward-ship name, Javaar Tyrone Grayson do hereby refute
the fraud:

Make public and publish my corrected national name. Declare and affirm my
true proper person status: and reclaim my rightful social and cultural life of the
state: in accord with my ancestral Moorish nation of northwest amexem/ north
America-Acknowledging my birthrights. Having lawfully and legally obtained and
proclaimed my nationality and birthright name and title: in harmony with in
association with and in accord with divine law the customs and the laws. Rules
and usages of the zodiac constitution: being aboriginal and indigenous and bound
to the north American continent by heritage by primogeniture by birthright, by
natural birth: by freehold, and by inheritance. Declared for the public record. | am
returning the European cognomen and fictitious misower back to the colonial
possessor of it pedigree. | am now rightfully declaring, publishing and proclaiming
my own free national name. Affirming my actual, rightful and civil in full life
status: conjoined to my ancient Moorish American consangume pedigree and
national honor:

Let it be declared known published and resolved that: | am Grayson-Bey in
propria persona soi juris*(being in my own proper person) by birthright: am

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inheritance. Without the foreign, Imposed color-of-law, or assumed due process
of the union states, society: pursuant to but not limited to:

1. Free Moorish-American zodiac constitution (zodiac constitution and
birthright of the Moorish Americans) (being ali, bey,el, dey and al) article
two(2) paragraph(2)

2. United states republic department of justice (Moorish-American credentials
AA 222141- truth A-1

3. United states supreme court: supreme law-acts of state

4. United states constitution: article Ill section two (2) amendment (5)(liberty
clause) and amendment 12(9) reservation of the right of the people.

5. Resolution number seventy-five (75) dated April 17 1933 ad (Moorish-
American society of Philadelphia- and the use of their names.

6. Universal declaration of human right United nations-human right

7. Rights of indigenous people-united nation general assembly article four (4)

Wherefore, |: Grayson-Bey being part and parcel named herein and by
birthright, primogeniture, and inheritance, make a lawful and legal entry of
affidavit and public notification of nationality proclamation: name correction
claim: declaration. Affirmation and application: herewith published for the
public record:

Upon my inherited nobility, and upon my private aboriginal/indigenous, proper
person status and commercial liability, | Grayson-Bey being duly affirmed under
consanguine unity: pledge my national, political and spiritual allegiance to the
Moorish nation, my aboriginal indigenous nation states being the archaic
aboriginals/indigenous of amexum (the Americas) standing squarely. Affirmed
upon my oath to my family five point of light-love truth,peace,freedom, and
justice: do squarely affirm to tell the truth, the whole truth and nothing but the
truth, and having knowledge- and firmly-established belief upon the
historial,lawful and adjudicated facts contained herein, being competent(in my
own proper person) to attest to this affidavit upon which | place my signature:
where as | state, proclaim and declare the following to be true, correct, certain,
complete , not misleading , supreme, and not intended to be presented for any
mispresented, colored or improper use or purpose to wit:

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as lawfully adopted for the united states republic. Establishing its republican
form of government said constitution established the peoples supreme law of
the land to secure the rights of the people, and to keep government bound and
in check by official oath and by official bond.

Down from the ancient ones our primogenitors, comes the supreme law of the
land:

EGYPT

The capital empire of the dominion of Africa the inhabitants of Africa are the
descendants of the ancients Canaanites from the land of Canaan. The Moabites
from the land of Moab who received permission from the pharaohs of Egypt to
settle and inhabit north-west Africa: they were the founders and are the true
possessors of the present Moroccan empire, with their Canaanite. Hittite and
amoric orethrem who sojourned from the land of Canaan seeking new homes.
Their dominion and inhabitation extended from north-east and south-west
Africa across the great Atlantis even unto the present north, south and central
America and also Mexico and the Atlantis islands: the great earthquake, which
caused the great Atlantis ocean.

The great seal pyramid

Is the national emblem and insiga of my ancestral Moorish nation, empire of
north America(geographical location) the great pyramid is also the archaic
symbol for civilation on the planet earth, the honorable moors national
government : moors who are active and not passive in the
social,civilation,culture and custom matters, involving law, Order and
government principles are hereby entreated to support this affirmation,
moors/Muurs who strive toward this end, with honor, are entrusted by noble
Drew Ali, to help in the great humanitarian work of uplifting ourselves, our
fellow-man- and humanity at large. We seek at all times to be conscious of the
works, instructions and acts necessary to leach, preserve and defend the
birthrights of all Moorish/Americans (all Moroccans) etc .

The noble descendants of moors

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Moors/Muurs are the natural members citizens of the ancients all Moroccan
empire (north America) —_ and are duty-bound to recognize and to support our
“great seal” government and nation of the natural people and command the
enforcement of our constitution thus, such organized communication orders are
referred to as the great seal national association of moors affairs: the free
Moorish nation inclusive of all the aboriginal/indigene tribes and province of the
natural people etc,are the rightful bearer of the names and title ali,el,bey, dey ,
al and all future titles created the free Moors/Muurs by freehold inheritance ,
retain all substantive rights and immunities.

Enjoy the exercising of substance rights and operate upon consummated right
law isonomy-Principle having vested constitutions, secured right and immunities
from taxable, and from criminal and civil jurisdiction by and of the union states
rights republic (U.S.A) pursuant to but not limited to the united states republic
supreme court, and the acts of states to wit.

Every sovereign state (people) is bound to respect the independence of every
other sovereign state(people) and the courts of the country (people) will not site
in judgment on the government of another, done within (the same or) its own
territory. The present union states municipal and civil laws and codes off the
land are an incorporated unit of self government established by the political
powers of the general assembly of each state of the union, and initiated at
Philadelphia Pennsylvania, North America in the years, Eighteen sixty three
(1863) union states’ rights , republic , under the magna carter (chapter), the
knights of Columbus code and the Ku Klux Klan oath,forever ,Forever said union
States’ rights republic denied citizenships in the united states republic(U.S.A) to
the descendants of the Moorish nation in the western hemispheres erroneously
referred to and branded and mislabeled as negroes, blacks, coloreds, and
African Americas etc, in addition the supreme court of the united states (in the
landmark case) of Dred scot vs Sanford go us (19 Howard ) 393 (1857) held that
negroes whether held to slavery or free were not included and were not
intended to be included in the category of citizen (subjects) of the union state
right republic-resultantly , the true indigene —nobles of the al Moroccan empire
(free moors) bearers of the names/titles ali, el, bey, dey and al are excluded
from the union states’ rights.

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Commision Expiration Date

| :Grayson-Bey , a real live flesh and blood :breathing non fictional , and natural
being , born of a natural mother , do solemnly : sincerely and squarely affirm
that the foregoing facts contained in this constructive and actual judicial notice
and proclamation by affirmed affidavit , are true to the best of my knowledge,
culture, customs and beliefs, being actual, correct not misleading etc, and being
the truth , the whole truth and nothing but the truth.

®.

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The right to travel: Thompson vs smith

The right to a citizen to travel upon the public highway and to transport one
property thereon, either by carriage or automobile is not a mere privilege which
a city may prohibit or permit at will but a common right, which he/she has
under the law

The right to park: Kentvs Dulles

Spirit is Law, Law is nature, nature is
family and family is government

lam: _Grayson- Bey Aboriginal Moors Brags - Pose

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County State Sworn and Subscribed
Before This Day 20°" This Month Severn?
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County of Wayne

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My Commission Expires P2IdOS
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Grayson-Bey

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